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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


ROBERT P. STORCH, et al.,

            Plaintiffs,

      v.                                      Case No. 1:25-cv-00415-ACR

PETE HEGSETH, in his official capac-
ity as Secretary of Defense, et al.,

            Defendants.


           BRIEF OF THE STATE OF FLORIDA AND 19 STATES
            AS AMICI CURIAE IN SUPPORT OF DEFENDANTS
             AND IN OPPOSITION TO PLAINTIFFS’ MOTION
                   FOR PRELIMINARY INJUNCTION

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                   CORPORATE DISCLOSURE STATEMENT

      Amici curiae the State of Florida and 19 States verify that no party to this brief

is a publicly held corporation, issues stock, or has a parent corporation.




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                          INTEREST OF AMICI CURIAE

      The Attorney General of Florida, on behalf of the State of the Florida and 19

States, respectfully submits this amicus brief pursuant to Local Civil Rule 7(o)(1) in

support of the defendants and in opposition to plaintiffs’ motion for a preliminary

injunction. President Trump lawfully removed plaintiffs from their posts.

      The States ceded sovereign authority to the federal government when they

joined the union on the understanding that the power of the federal government was

limited, that this power would be divided among multiple branches of government,

and that the States and their citizens would be able to hold federal officials democrat-

ically accountable for their exercise of that power. Yet when it comes to independent

agencies, none of that is true. Federal power is instead consolidated in a select few

accountable to no one. And that naturally leads to the expansion of that power.

      Amici have an interest in ensuring that federal officials exercise their power—

power that flows from the States themselves—within constitutional limits. After all,

“[s]eparation-of-powers principles” do not just “protect each branch of government

from incursion by the others”; they “protect the individual” and state sovereignty as

well. Bond v. United States, 564 U.S. 211, 222 (2011). The issue here—and the sepa-

ration-of-powers principles involved in resolving it—go to the heart of the federalist

bargain struck by the Framers.

              INTRODUCTION AND SUMMARY OF ARGUMENT

      Plaintiffs Robert P. Storch; Michael J. Missal; Christi A. Grimm; Cardell K.

Richardson, Sr.; Sandra D. Bruce; Phyllis K. Fong; Larry D. Turner; and Hannibal



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“Mike” Ware all challenge President Trump’s authority to remove them from their

presidentially appointed positions as Inspectors General of various federal agencies.

They ask this Court to reinstate them to these positions. 1 As Inspectors General,

plaintiffs were “under the general supervision of” their respective department heads,

but no department head could “prevent or prohibit the Inspector[s] General from in-

itiating, carrying out, or completing any audit or investigation, or from issuing any

subpoena during the course of any audit or investigation.” 5 U.S.C. § 403(a). As such,

they served as principal officers and exercised a significant part of the executive

power of the President.

      Plaintiffs nevertheless contend that the President’s decision to remove them

from their posts “was contrary to law and therefore a nullity.” Compl. 4 ¶ 6. As plain-

tiffs read it, the Inspector General Act conditions the President’s authority to remove

an Inspector General on communicating to Congress the reasons for removal 30 days

in advance of carrying out the removal. Pltfs.’ Mot. for Prelim. Inj. (“Mot”) 1. They

furthermore read the Act as constraining the President’s ability to suspend an In-

spector General during the 30-day period prior to removal (by requiring him to



      1 Storch was the Inspector General of the U.S. Department of Defense. Missal

was the Inspector General of the U.S. Department of Veterans Affairs. Grimm was
the Inspector General of the U.S. Department of Health and Human Services. Rich-
ardson was the Inspector General of the U.S. Department of State. Bruce was the
Inspector General of the U.S. Department of Education. Fong was the Inspector Gen-
eral of the U.S. Department of Agriculture. Turner was the Inspector General of the
U.S. Department of Labor. Ware was the Inspector General of the U.S. Small Busi-
ness Administration. Each of these Inspector General positions is listed in 5 U.S.C.
§ 401(1) and is therefore required to be appointed by the President with the advice
and consent of the Senate. 5 U.S.C. § 403(a); compare 5 U.S.C. § 415 (designating fed-
eral entities whose heads appoint Inspectors General for that entity).

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determine that the “continued presence of the Inspector General in the workplace

poses a threat”). Mot. 8 n.5. Even if plaintiffs’ characterization of the Act were accu-

rate, but see Defts.’ Opp. to Pltfs.’ Mot. for Prelim. Inj. 15–19 (explaining why the text

of the Act does not protect plaintiffs from removal), its effect is to saddle the President

with an Inspector General who does not have his complete confidence for at least 15

days, and to require the President to justify a decision to remove an Inspector General

to Congress. These restrictions are all unconstitutional, because they interfere with

the President’s plenary authority to supervise the executive branch and “take Care

that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

       Protecting the President’s removal authority from congressional incursions is

an important safeguard of state sovereignty. When the States surrendered some of

their sovereign power to the federal government upon joining the union, they never

would have imagined unaccountable officials wielding that power independent of

someone who must answer to the people or the States for its exercise. That was not

what the Constitution promised them. Yet when it comes to independent agencies

and tenure-protected executive officers, that is precisely what the States get. When

independent agencies and tenure-protected officers wield executive power outside the

purview of a democratically elected President, it not only usurps the President’s au-

thority, it strikes at the core of the compact the States agreed to at the Founding. And

state sovereignty and individual liberty suffer.

       Nor can this Court grant the relief that plaintiffs seek: an injunction ordering

their reinstatement. Just as Congress may not restrain the President’s removal



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power over executive officials, courts may not order an executive officer’s reinstate-

ment. That limit on equity dates to the Founding and runs throughout the precedents

of the Supreme Court. The rule ensures effective governance, respects state sover-

eignty, and yields reasoned jurisprudence. This Court should heed what the Supreme

Court held over a century ago: “a court of equity has no jurisdiction over the appoint-

ment and removal of public officers.” In re Sawyer, 124 U.S. 200, 212 (1888).

                                    ARGUMENT

      The Court should deny plaintiffs’ motion for a preliminary injunction. Core

separation-of-powers principles, bolstered by long historical understanding, require

that the President have the authority freely to remove executive branch officials, in-

cluding Inspectors General. That limitation on Congress’s power indirectly preserves

state sovereignty by ensuring that “independent agencies” are politically accountable

should they attempt to intrude in state affairs. And a federal court would in any event

lack the authority to reinstate these former Inspectors General to their posts.

I.    The President has absolute authority to remove Inspectors General
      appointed by the President with the advice and consent of the Senate.

      “‘[T]he ‘executive Power’—all of it—is ‘vested in a President, who must ‘take

Care that the Laws be faithfully executed.’” Seila Law LLC v. Consumer Fin. Prot.

Bureau, 591 U.S. 197, 203 (2020) (quoting U.S. Const. art. II, § 1, cl. 1; id. § 3). And

“if any power whatsoever is in its nature Executive, it is the power of appointing,

overseeing, and controlling those who execute the laws.” 1 Annals of Cong. 463 (1789)

(J. Madison). That necessarily includes the authority to remove executive officers.

Indeed, “lesser officers must remain accountable to the President,” for it is his


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“authority they wield.” Seila Law, 591 U.S. at 213. Without the power to remove, the

President lacks the ability to compel compliance with his directives, id. at 213–14,

and thus to fulfill his oath to execute the law, U.S. Const. art. II, § 3.

      Given the “necessity of an energetic executive,” The Federalist No. 70, at 472

(Hamilton) (Jacob E. Cooke, ed., 1961), and the legislative branch’s historic tendency

to “draw[] all power into its impetuous vortex,” The Federalist No. 48, at 333 (Madi-

son) (Jacob E. Cooke, ed., 1961), it is critical that the President’s authority to direct

and supervise the executive branch in the performance of its functions be protected

from legislative encroachment. As a result, the Supreme Court has recognized only

two exceptions to the President’s otherwise “exclusive and illimitable power of re-

moval.” Humphrey’s Ex’r v. United States, 295 U.S. 602, 627 (1935); see also Seila

Law, 591 U.S. at 215 (referring to the President’s “unrestricted removal power”). Nei-

ther exception covers the Inspectors General in this case.

      The first exception, recognized in Humphrey’s Executor and later in Wiener v.

United States, 357 U.S. 349 (1958), is for “a multimember body of experts, balanced

along partisan lines, that perform[s] legislative and judicial functions and [i]s said

not to exercise any executive power.” Seila Law, 591 U.S. at 216. That exception—

which has been roundly criticized by multiple members of the Supreme Court, see,

e.g., Seila Law, 591 U.S. at 239 (Thomas, J., concurring, joined by Gorsuch, J.) (“I

would repudiate what is left of this erroneous precedent”), and appears ripe for over-

ruling—does not apply to Inspectors General, who individually serve as the heads of

Offices of the Inspector General in each of their respective executive departments.



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See 5 U.S.C. § 403(a). The Inspectors General furthermore do not in any sense per-

form “legislative” or “judicial” functions; they are executive officers, responsible “to

conduct and supervise audits and investigations relating to the programs and opera-

tions of the establishments” in which they serve. 5 U.S.C. § 402(b)(1). Restrictions on

removing an Inspector General thus cannot be justified under whatever remains of

the doubtful precedent in Humphrey’s Executor.

      The second exception is for certain inferior officers, and it has been applied to

only two: a naval cadet engineer, United States v. Perkins, 116 U.S. 483 (1886), and

the so-called independent counsel, Morrison v. Olson, 487 U.S. 654 (1988). That nar-

row exception—representing the “outermost constitutional limit[]” on the President’s

removal power, Seila Law, 591 U.S. at 218—does not apply here. Although they are

superficially subject to the “general supervision” of the heads of the executive depart-

ments whose activities they are responsible for investigating, 5 U.S.C. § 403(a), that

apparent subordination is an illusion, as the very next sentence of the provision states

that a department head cannot “prevent or prohibit” an Inspector General from car-

rying out any audit or investigation. In all practical respects, Inspectors General do

not have a superior other than the President. They thus qualify as principal officers

under the chief criterion the Supreme Court has used to determine whether an Officer

of the United States is principal or inferior. See United States v. Arthrex, Inc., 594

U.S. 1, 13 (2021) (“‘[W]hether one is an “inferior” officer depends on whether he has

a superior’ other than the President.” (quoting Edmond v. United States, 520 U.S.

651, 662 (1997)).



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      To avoid this conclusion, plaintiffs go so far as to suggest that their status is

that of mere “employees.” Mot. 15–16. They claim that they do not exercise “signifi-

cant authority pursuant to the laws of the United States.” Mot. 15 (quoting Buckley

v. Valeo, 424 U.S. 1, 126 (1976) (per curiam)). They downplay their authority “to make

arrests, conduct searches, and seize evidence,” Mot. 15 (citing 5 U.S.C. § 406(f)), as

no different than that of an FBI agent. Putting to one side plaintiffs’ unexamined

assumption that FBI agents do not themselves exercise “significant authority pursu-

ant to the laws of the United States” (a conclusion that would surely come as a sur-

prise to many who have been the subjects of FBI investigations), they ignore the ob-

vious difference between a field agent and a presidentially appointed, Senate-con-

firmed agency head responsible for hiring and firing a sizable staff, making major

decisions regarding the allocation of appropriated funds, and directing the investiga-

tive aims of a department-wide auditing agency. 2 It beggars belief that the head of

such an important agency would not be directly accountable to the President in the

manner that the Constitution prescribes for all officers.

      Inspectors General are therefore covered by the Supreme Court’s decisions in

Seila Law, Collins v. Yellen, 594 U.S. 220 (2021), and Myers v. United States, 272 U.S.

52 (1926). In Seila Law and Collins, the Supreme Court held that a single principal




      2 As of late 2024, for instance, the Inspector General of the Department of De-

fense employed a staff of more than 1,860, Inspector General, U.S. Dep’t of Defense,
Semiannual Report to Congress at 2 (Apr. 1–Sept. 30, 2024), https://tinyurl.com/
bdrc6pd6, and administered an annual budget in excess of $500,000,000, Office of
Inspector General, U.S. Dep’t of Defense, Fiscal Year (FY) 2025 Budget Estimates,
https://tinyurl.com/549nfsj4.

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officer serving as the head of an executive agency could not be tenure-protected. In

Myers, the Court held that even an inferior officer appointed by the President with

the advice and consent of the Senate (a postmaster first class supervised by the Post-

master General) was subject to the plenary removal authority of the President. Thus,

even if plaintiffs were correct in their alternative contention that Inspectors General

are inferior officers (they are not), any removal protections in section 3 of the Inspec-

tor General Act would not pass constitutional muster.

      The Department of Justice’s Office of Legal Counsel has corroborated that any

restriction on the removal of Inspectors General is unconstitutional. In 1977, as pre-

liminary versions of the Inspector General Act were under consideration in Congress,

the Office of Legal Counsel warned that any restriction on the removal of Inspectors

General by the President—even a mere requirement that the President communicate

to Congress his reasons for removal—would in its view be unconstitutional. See In-

spector General Legislation, 1 Op. O.L.C. 16 (1977). “[W]e are of the opinion that the

requirement that the President notify both Houses of Congress of the reasons for his

removal of an Inspector General constitutes an improper restriction on the Presi-

dent’s exclusive power to remove Presidentially appointed executive officers.” Id. at

18. “[T]he power to remove a subordinate appointed officer within one of the executive

departments is a power reserved to the President acting in his discretion.” Id. A for-

tiori, the even greater restrictions that plaintiffs advocate in their motion contravene

the President’s authority to remove Inspectors General.




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II.    By threatening the separation of powers, “independent” executive of-
       ficers and agencies in turn threaten state sovereignty.

       Whether Congress may shield executive officials from presidential oversight

has grave ramifications for amici States. Before joining the union, “the several States

had absolute and unlimited sovereignty within their respective boundaries.” Respu-

blica v. Cobbett, 3 U.S. 467, 473 (Pa. 1798). By entering a compact under the Consti-

tution, the States “surrendered” some of that sovereignty to the United States.

Chisholm v. Georgia, 2 U.S. (2 Dall.) 419, 435 (1793) (Iredell, J., dissenting). But “in

every instance where [their] sovereignty ha[d] not been delegated to the United

States, [the States remained] completely sovereign.” Id. The result was a “system of

government” that “differ[ed], in form and spirit, from all other governments, that

ha[d] [t]heretofore existed in the world”—a carefully calibrated balance of power be-

tween States and the federal government. Respublica, 3 U.S. at 473. “[T]he United

States ha[s] no claim to any authority but such as the States have surrendered to

[it].” Chisholm, 2 U.S. at 435 (Iredell, J., dissenting).

       When ceding that sovereign power, the States ensured that it would be divided

among distinct branches of the federal government. They “viewed the principle of the

separation of powers as the central guarantee of a just government.” Freytag v.

Comm’r of Internal Revenue, 501 U.S. 868, 870 (1991). To protect their sovereignty

and preserve individual liberty, the founding States “scrupulously avoid[ed] concen-

trating power in the hands of any single individual.” Seila Law, 591 U.S. at 223. The

one exception was the executive branch. Because an “energetic executive” is “essen-

tial” to perform that branch’s “unique responsibilities,” the Framers decided to


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“fortif[y]” that power in “one man.” Id. at 223–24. To mitigate their concerns over

power consolidation, they made the executive branch “the most democratic and polit-

ically accountable” in the federal government. Id. at 224. Only the President and Vice

President are “elected by the entire Nation.” Id. And because of the nature of the

electoral college, they are elected not just by the People, but also by the States. This

carefully calibrated “allocation of powers”—essential to the compact the States agreed

to upon joining the union—protects “libert[y]” and state “sovereignty.” Bond, 564 U.S.

at 221.

      Independent agencies threaten that compact. See, e.g., Seila Law, 591 U.S. at

246 (Thomas, J., concurring) (observing that cases like Humphrey’s Executor “laid the

foundation for a fundamental departure from our constitutional structure”). They

represent one of the founding States’ worst fears: the consolidation of power in one or

a few democratically unaccountable officials. See 591 U.S. at 222–24. Without “a po-

litically accountable officer [to] take responsibility” for the exercise of executive

power, “the public [and the States] can only wonder ‘on whom the blame or the pun-

ishment of a pernicious measure, or series of pernicious measures ought really to

fall.’” Arthrex, 594 U.S at 16 (quoting The Federalist No. 70, at 476 (A. Hamilton)

(Jacob E. Cooke, ed., 1961)). By eviscerating the “clear and effective chain of command

down from the President, on whom all people vote,” the actions of independent agen-

cies are deprived of “legitimacy and accountability to the public” and the States. Id.

at 11 (internal quotation marks omitted).




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      One need not search long for an egregious example. Just last year, the Federal

Trade Commission (“FTC”) banned noncompete clauses in employment contracts na-

tionwide. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024). In “the most

extraordinary assertion of authority in the Commission’s history,” a few unaccounta-

ble commissioners “prohibit[ed] a business practice that has been lawful for centu-

ries” and “invalidate[d] thirty million existing contracts.” Fed. Trade Comm’n, Dis-

senting Statement of Commissioner Andrew N. Ferguson 1 (June 28, 2024), https://ti-

nyurl.com/3j8dxrtx. And they did so even though “[c]ommercial agreements tradition-

ally are the domain of state law.” Aronson v. Quick Point Pencil Co., 440 U.S. 257,

262 (1979). Nor did the FTC care that 46 states had exercised their sovereign author-

ity to permit noncompete agreements in some form. See Ferguson Dissent at 14. But

because of the FTC’s independence, the States have no one to hold to account for that

dramatic intrusion on their sovereignty. 3 The FTC wields extraordinary authority to

usurp state sovereignty with no political accountability.

      The same is true of the National Labor Relations Board (“NLRB”), which re-

cently adopted a rule that “would treat virtually every entity that contracts for labor

as a joint employer” of the contractor’s employees while “largely backhand[ing]” the

rule’s highly “disruptive impact” on an array of industries. Chamber of Commerce of

U.S. v. NLRB, 723 F. Supp. 3d 498, 516–17 (E.D. Tex. 2024). In another example, the



      3 The FTC’s authority to promulgate the non-compete rule is being tested in

several pending cases. See Ryan, LLC v. FTC, No. 3:24-cv-986, 2024 WL 3879954
(N.D. Tex. Aug. 20, 2024), appeal docketed, No. 24-10951 (5th Cir. Oct. 18, 2024);
Props. of the Vills., Inc. v. FTC, No. 5:24-cv-316, 2024 WL 3870380 (M.D. Fla. Aug.
15, 2024), appeal docketed, No. 24-13102 (11th Cir. Sept. 24, 2024).

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NLRB adopted an “extremely broad rule [that] would make all company uniforms

presumptively unlawful” because they could interfere with “employees’ right to dis-

play union insignia.” Tesla, Inc. v. NLRB, 86 F.4th 640, 644, 651 (5th Cir. 2023). Of

course, setting national labor policy is a “difficult and delicate responsibility” that

requires “the balancing of conflicting legitimate interests.” Beth Israel Hosp. v.

NLRB, 437 U.S. 483, 501 (1978). But that is the point: the government actors who

exercise that responsibility must ultimately account in the chain of command to the

States and their citizens. Anything else is not the sovereign authority the States

ceded the federal government when they joined the union.

III. Federal courts lack equitable authority to reinstate public officials.

      Not only are plaintiffs wrong on the merits, they are wrong on the remedy.

Federal courts may not reinstate public officers absent an act of Congress. See, e.g.,

42 U.S.C. § 2000e-5(g) (authorizing courts to “reinstate[]” employees who suffer dis-

crimination). Plaintiffs have cited no such act. Nor is Congress’s silence surprising—

orders reinstating public officials hamper effective governance, invade state sover-

eignty, and beget rushed jurisprudence.

      A. Plaintiffs seek relief the courts cannot grant. They request a declaration

that their terminations were “legally ineffective” and an injunction preventing de-

fendants “from taking any further action to obstruct plaintiffs from carrying out their

official duties.” Compl. 31. Yet the only equitable remedies a federal court may grant

are those “traditionally accorded by courts of equity.” Bessent v. Dellinger, No.

24A790, slip op. at 3 (U.S. Feb. 21, 2025) (Gorsuch, J., joined by Alito, J., dissenting)



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(quoting Grupo Mexicano de Desarrollo, S.A. v. All. Bond Fund, Inc., 527 U.S. 308,

318 (1999)). And history teaches that “[a] court of equity has no jurisdiction over the

appointment and removal of public officers.” Walton v. House of Representatives of

Okla., 265 U.S. 487, 490 (1924); see also Dellinger, No. 24A790, slip op. at 4 (Gorsuch,

J., dissenting) (finding it “well settled that a court of equity has no jurisdiction over

the appointment and removal of public officers” (quoting Sawyer, 124 U.S. at 212)). 4

      That rule flows from English common law. Recognizing the critical “distinction

between judicial and political power,” English courts historically would not wield eq-

uity to vindicate a litigant’s “political right[]” to office. Georgia v. Stanton, 73 U.S.

(6 Wall.) 50, 71, 76 & n.20 (1867) (collecting cases); see Sawyer, 124 U.S. at 212 (col-

lecting cases, including Attorney General v. Earl of Clarendon, 17 Ves. Jr. 491, 498,

34 Eng. Rep. 190, 193 (Ch. 1810)). In Earl of Clarendon, for instance, the English

Court of Chancery declined to remove public-school officers on the ground that they

lacked necessary legal qualifications. 17 Ves. Jr. at 493, 34 Eng. Rep. at 191. Accord-

ing to that court, a court of equity “has no jurisdiction with regard either to the elec-

tion or the [removal] of” officers. Id. at 498, 34 Eng. Rep. at 193. Contemporary Eng-

lish cases tracked that reasoning. See also Joseph Story, Commentaries on Equity



      4 In their motion for preliminary injunction, plaintiffs assert that the Presi-

dent’s orders of removal were “ultra vires actions” and are “without legal force or ef-
fect.” Mot. 13. If this is an attempt to sidestep the reality that they seek an injunction
reinstating them to posts they no longer hold, it must fail. In many (if not all) of the
Supreme Court’s reinstatement precedents, the Court similarly declined to issue an
injunction to a plaintiff arguing that his removal was “illegal,” and thus, “void.” Saw-
yer, 124 U.S. at 205. In the end, the Supreme Court’s cases turn on whether the re-
quested injunction would require the government to permit the plaintiff to serve in
his post despite the asserted removal—exactly what plaintiffs seek here.

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Pleadings and the Incidents Thereof §§ 467–70 (2d ed. 1840) (explaining that tradi-

tional equity courts would not adjudicate rights of a “political nature” and citing ex-

amples); Seth Davis, Empire in Equity, 97 Notre Dame L. Rev. 1985, 2011–12 (2022). 5

      American courts imported that principle after the Framing. In the early 19th

century, courts nationwide denied that equity chancellors could afford a removed of-

ficial relief, even when the official’s ouster was illegal and unauthorized. Tappan v.

Gray, 9 Paige Ch. 506, 508–09 (Ch. Ct. N.Y. 1842); see also Hagner, 7 Watts & Serg.

at 105; Sawyer, 124 U.S. at 212 (collecting cases). Hagner is emblematic. In that case,

the Supreme Court of Pennsylvania declined to enjoin a defendant from unlawfully

acting as a school director because it possessed no more power than “an English court

of chancery.” Hagner, 7 Watts & Serg. at 106–07. Because chancery courts tradition-

ally “would not sustain the injunction proceeding to try the election or [removal] of




      5 Although Earl of Clarendon and some other cases cited in Sawyer involved

corporate officers, those legal entities were historically treated more like
governments and public entities. Colonial governments, for instance, were created
through corporate charters, with “shareholders” acting like modern-day voters and
voting for corporate boards that looked like modern-day state and local governments.
Nikolas Bowie, Why the Constitution Was Written Down, 71 Stan. L. Rev. 1397, 1416–
21 (2018); see also Letter from John Adams to the Inhabitants of the Colony of
Massachusetts-Bay, April 1775, https://founders.archives.gov/documents/Adams/06-
02-02-0072-0015. And as the Pennsylvania Supreme Court noted in Hagner v.
Heyberger, limits on equitable jurisdiction that applied to “private corporations”
apply “à fortiori” to “the case of a public officer of a municipal character.” 7 Watts &
Serg. 104, 105 (Penn. 1844); see also W.S. Holdsworth, English Corporation Law in
the 16th and 17th Centuries, 31 Yale L.J. 382, 383–84 (1922) (noting that for both
public and private corporations, “creation by and subordination to the state are the
only terms upon which the existence of large associations of men can be safely allowed
to lead an active life”).

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corporators of any description,” Pennsylvania’s high court held that it could not ei-

ther. Id. Other courts took a similar tack throughout Reconstruction. 6

      The Supreme Court later confirmed that historical equitable constraint in

Sawyer. There, a locally elected officer sought an injunction from a federal court bar-

ring local officials from removing him. 124 U.S. at 201. After the local officials were

held in contempt of that injunction, the Court issued a writ of habeas corpus to vacate

their convictions because the injunction was issued without jurisdiction. The Court

explained that a federal court in equity “has no jurisdiction . . . over the appointment

and removal of public officials.” Id. at 210. And a wall of contemporary treatises ech-

oed that understanding. 7 As one 19th-century commentator put it, “[n]o principle of

the law of injunctions, and perhaps no doctrine of equity jurisprudence, is more defi-

nitely fixed or more clearly established than that courts of equity will not interfere

by injunction to determine questions concerning the appointment of public officers or

their title to office.” 2 High, Law of Injunctions § 1312.




      6 See, e.g., Cochran v. McCleary, 22 Iowa 75, 91 (1867) (“The right to a public

office or franchise cannot, as the authorities above cited show, be determined in eq-
uity.”); Sheridan v. Colvin, 78 Ill. 237, 247 (1875) (“A court of equity is not a proper
tribunal for determining disputed questions concerning the appointment of public of-
ficers, or their right to hold office[.]”); Delahanty v. Warner, 75 Ill. 185, 186 (1874)
(court of chancery had no power to restrain local officials from removing the superin-
tendent of streets from his post); Beebe v. Robinson, 52 Ala. 66, 73 (1875) (similar);
Taylor v. Kercheval, 82 F. 497, 499 (C.C.D. Ind. 1897) (similar); State ex rel. McCaffery
v. Aloe, 54 S.W. 494, 496 (Mo. 1899) (similar).
      7 See 2 James L. High, Treatise on the Law of Injunctions § 1312 (2d ed. 1880);

1 Howard Clifford Joyce, A Treatise on the Law Relating to Injunctions § 55 (1909);
4 John Norton Pomeroy, A Treatise on Equity Jurisprudence § 1760 (4th ed. 1918);
2 Eugene McQuillin, A Treatise on the Law of Municipal Corporations § 582 (1911).

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          The Supreme Court has doubled down on that rule. A decade after Sawyer, the

Court reiterated that equity courts may “not, by injunction, restrain an executive of-

ficer from making a wrongful removal of a subordinate appointee, nor restrain the

appointment of another.” White v. Berry, 171 U.S. 366, 377 (1898). The Court restated

the point in Walton: While federal courts are “particularly . . . without jurisdiction

over the appointment and removal of state officers,” they no more possess “jurisdic-

tion over the appointment and removal of [other] public officers.” 265 U.S. at 490

(emphasis added). And it repeated the principle in Baker v. Carr—“federal equity

power [may] not be exercised to enjoin a state proceeding to remove a public officer.”

369 U.S. 186, 231 (1962); see also Fineran v. Bailey, 2 F.2d 363, 363 (5th Cir. 1924)

(“It is well settled by the decisions of the Supreme Court that a District Court of the

United States has no jurisdiction over the appointment and removal of public offic-

ers.”).

          Similarly, there is no established historical tradition of equity courts’ rein-

stalling officials, at least not without express statutory authorization. “No English

case has been found of a bill for an injunction to restrain the appointment or removal

of a municipal officer.” Sawyer, 124 U.S. at 212. Aside from the outlier case identified

by Justice Gorsuch in his dissent in Bessent v. Dellinger, 8 we know of no case in which




          8 The decision Justice Gorsuch cited was Berry v. Reagan, No. 83-3182, 1983

WL 538 (D.D.C. Nov. 14, 1983)). As he noted, that decision “involved members of ‘a
temporary, multi-member agency,’” Dellinger, No. 24A790, slip op. at 4 (Gorsuch, J.,
dissenting) (quoting Dellinger v. Bessent, No. 25-5028, slip op. at 8 (D.C. Cir. Feb. 15,
2025) (Katsas, J., dissenting)), unlike the Inspectors General here.

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a federal court has ordered the reinstatement plaintiffs seek. 9 The lack of historical

pedigree for reinstatement suggests that it “was unknown to traditional equity prac-

tice,” Grupo Mexicano, 527 U.S. at 327, and divorced from the “jurisdiction in equity

exercised by the High Court of Chancery in England at the time of the adoption of the

Constitution and the enactment of the original Judiciary Act, 1789 (1 Stat. 73),” id.

at 318–19.

      B. Tradition is often grounded in common sense. Here, there are at least three

reasons why courts should not wade into the messy business of reinstatement.

      First, reinstatement hampers effective governance. Like a grain of sand in a

gear, forcing the sovereign to retain an official it believes is unfit threatens to halt

the levers of government and risks intra-office “chaos.” Nixon v. United States, 506

U.S. 224, 236 (1993) (questioning what relief a federal court could grant a judge who

had been impeached and removed from office); Abbott v. Thetford, 529 F.2d 695, 708

(5th Cir. 1976) (Gewin, J., dissenting) (arguing that reinstating a state judicial em-

ployee would impair the court’s judicial functions), majority vacated and dissent

adopted upon reh’g en banc, 534 F.2d 1101 (5th Cir. 1976).



      9 The only other arguable candidate we have found is Bond v. Floyd, in which

the Supreme Court held that the Georgia legislature violated the First Amendment
in refusing to seat a newly elected member for engaging in anti-Vietnam War speech
while the member-elect was a private citizen. 385 U.S. 116, 137 (1966). But Bond v.
Floyd did not grapple with the limits on the federal courts’ remedial authority dis-
cussed by Walton or Sawyer. See id. At most, Bond v. Floyd represents an implicit
“drive-by” ruling that carries “no precedential effect.” Steel Co. v. Citizens for a Better
Env’t, 523 U.S. 83, 91 (1998). The issue of the equitable authority of the federal courts
“merely lurk[ed] in the record,” so the holding of Bond v. Floyd cannot “be considered
as having . . . constitute[d] precedent[]” on the question. Webster v. Fall, 266 U.S. 507,
511 (1925).

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      Second, when extended to state officers, reinstatement invades state sover-

eignty. “The authority of the people of the States to determine” their state officers

“goes beyond an area traditionally regulated by the States; it is a decision of the most

fundamental sort for a sovereign entity” that lies at “the heart of representative gov-

ernment.” Gregory v. Ashcroft, 501 U.S. 452, 460, 463 (1991). The historical limit on

federal reinstatement power preserves “the scrupulous regard for the rightful inde-

pendence of state governments which should at all times actuate the federal courts.”

Ala. Pub. Serv. Comm’n v. S. Ry. Co., 341 U.S. 341, 349 (1951).

      Finally, reinstatement encourages rushed jurisprudence. When officials be-

lieve that reinstatement lies just behind the courthouse door, they will often seek

emergency injunctive relief. See, e.g., Warren v. DeSantis, No. 4:22-cv-302 (N.D. Fla.)

(in which a district judge ordered an extraordinarily compressed trial schedule of just

over three months in a case posing many complex issues of constitutional signifi-

cance). Those fast-paced proceedings “tend to force judges into making rushed, high-

stakes, low-information decisions” on constitutional issues of immense importance.

Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (mem.) (Gorsuch, J.,

concurring).




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                                 CONCLUSION

      The Court should deny plaintiffs’ motion for a preliminary injunction.

February 24, 2025                        Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the typeface and page-length require-

ments of Local Civil Rules 5.1(d) and 7(o)(4).

                                           /s/ Jeffrey Paul DeSousa
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                         CERTIFICATE OF SERVICE

      I certify that on February 24, 2025, I electronically filed this document with

the Clerk of Court using the Court’s CM/ECF system, which will send a notice of

docketing activity to all parties who are registered through CM/ECF.

                                         /s/ Jeffrey Paul DeSousa
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